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                   UNITED STATES DISTRICT COURT FOR THE
                       MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION

GLORIA THRONEBURG and,                           CASE NO.:
DANIEL C. THRONEBURG, JR.,

      Plaintiff,
vs.

WALMART STORES EAST, LP

     Defendant.
____________________________________/

       DEFENDANT, WAL-MART STORES EAST, LP’S NOTICE OF
      REMOVALWITH INCORPORATED MEMORANDUM OF LAW

      Defendant, WALMART STORES EAST, L.P. (hereinafter “WALMART”),

by and through undersigned counsel, and pursuant to 28 U.S.C. §§ 1332, 1441 and

1446(b)(1), and Rule 81(c) of the Federal Rules of Civil Procedure, hereby gives

notice of the removal of this case from the Circuit Court of the Twelfth Judicial

Circuit, in and for Manatee County, Florida to the United States District Court for

the Middle District of Florida, Tampa Division, with full reservation of rights,

exceptions and defenses. As grounds for this Notice of Removal, WALMART

states the following:

                        I.   FACTUAL BACKGROUND

      1.     This removal is based on diversity of citizenship under 28 U.S.C. §§

1332(a)(1) and 1441 with an amount in controversy exceeding the sum of
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$75,000.00, exclusive of interest and costs.

        2.   On or about May 3, 2021, Plaintiffs, GLORIA THRONEBURG AND

DANIEL C. THRONEBURG, JR. (hereinafter, “Plaintiffs”), commenced a civil

action against an entity called Walmart, Inc. in the Twelfth Judicial Circuit Court

in and for Manatee County, Florida, styled Gloria Throneburg and Daniel C.

Throneburg, Jr v. Walmart, Inc., and bearing Case No. 2021CA1779. [A true and

correct copy of Plaintiff’s Complaint is attached hereto as Exhibit “A”].

        3.   Plaintiff’s initial Complaint was served on Walmart, Inc.’s registered

agent on May 14, 2021. [A true and correct copy of the Notice of Service of

Process and Summons is attached hereto as composite Exhibit “B”].

        4.   On June 18, 2021, Plaintiffs filed their Amended Complaint and

named the correct owner or operator of Walmart Store No. 3370, where the alleged

accident occurred. The Amended Complaint, names Wal-Mart Stores East, L.P.

(“WALMART”) [A true and correct copy of Plaintiffs’ Amended Complaint is

attached hereto as Exhibit “C”].

        5.   Defense counsel agreed to accept service, and therefore the operative

Amended Complaint was deemed to have been served on WALMART on June 18,

2021.

        6.   Plaintiffs’ Amended Complaint asserts one count of negligence

against WALMART and one count for loss of consortium. [See Ex. C].

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Specifically, Plaintiffs allege that, on March 11, 2018, Plaintiff, Gloria

Throneburg, was in the process of shopping for a bicycle. While checking the

bicycle, the bicycle seat failed and Plaintiff fell to the ground hitting her head on

shelving located adjacent to the bicycle display. [See Ex. C, ¶¶ 5-6]. Plaintiff

alleges that she suffered bodily injury that resulted in pain and suffering, disability,

disfigurement, mental anguish, loss of capacity for enjoyment of life, expense of

hospitalization, medical and nursing care treatment, loss of earnings, loss of ability

to earn money, and aggravation of previously existing condition. [See Ex. C, ¶ 10].

      7.     Plaintiffs allege that WALMART breached its duties to them and she

they are entitled to recover damages because Defendant’s employees, while acting

within the course and scope of their employment, failed to keep a bicycle it

showcased for sale in a reasonably safe condition, failed to properly assemble the

bicycle, allowed the bicycle to be accessed by its business invitees, without

supervision, failed to warn of the dangerous condition created by the improperly

assembled bicycle, failed to supervise, monitor and/or otherwise assist its business

invites while sampling the bicycles on display. [See Ex. C, ¶ 9 (a)-(h)].

      8.     Plaintiffs, Gloria Throneburg and Daniel C. Throneburg, Jr. are

“residents domiciled in Manatee County,” which is the county where the incident

occurred. See Ex. “C” at ¶ 2. Moreover, so as to confirm evidence of their

citizenship for jurisdictional purposes, WALMART retained a private investigator

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to perform a comprehensive background check on the Plaintiffs. [A true and

correct copy of the Declaration of Helene Baum is attached hereto as Exhibit “D”]

        9.    On June 25, 2019, prior to commencement of this lawsuit, Plaintiff

Gloria Throneburg submitted correspondence to Claims Management, Inc., which

indicated that Plaintiff incurred over $34,900.00 in medical bills and advised that

the amount is still rising as she is still under the care and treatment of her

doctors. Additionally, the correspondence indicated that Plaintiff’s future

conservative treatment expenses will approach $59,400.00. Added together, the

total sum exceeds the necessary threshold. [A true and correct redacted copy of

Plaintiff’s Demand Letter is attached as Exhibit “E”]. 1 This figure is exclusive of

non-economic damages Plaintiff is claiming.              Additionally, Plaintiff Daniel C.

Throneburg is claiming unspecific damages for loss of consortium.

        10.   As demonstrated below, WALMART is a corporation organized and

existing under the laws of Delaware, with its principal place of business in

Arkansas.

        11.   This matter is therefore removable based on diversity of citizenship of

the parties, and because the amount in controversy is in excess of $75,000.00,

exclusive of interest, attorneys’ fees, and costs.


1
 Walmart has not filed the entire complement of medical records which Plaintiff submitted with
her pre-suit demand letter in order to protect the Plaintiff’s personal information. Should the
Court wish to see these documents, Walmart can provide same for an in camera inspection.
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       12.    In accordance with 28 U.S.C. § 1446(b)(3), this Notice of Removal is

filed within thirty (30) days after service on WALMART of Plaintiffs’ Amended

Complaint. [See Ex. C]. Therefore, the Notice is timely filed pursuant to 28

U.S.C. § 1446(b).

       13.    A true and correct copy of all process, pleadings, and other papers

and/or exhibits of every kind filed with the state court in this action, along with a

docket sheet from the Clerk of Court, are attached hereto as composite Exhibit “F”

as required by 28 U.S.C. § 1446(a).

       14.    Following the filing of this Notice of Removal with this Court,

WALMART will file a Notice of Filing Notice of Removal pursuant to 28 U.S.C. §

1446(d) with the state court where this action is pending and will give written

notice thereof to all parties.

       15.    WALMART reserves the right to raise all defenses and objections in

this action after the action is removed to this Court.

                           II.   REMOVAL IS TIMELY

       16.    In accordance with 28 U.S.C. § 1446(b)(1), WALMART files this

Notice of Removal within thirty (30) days of its receipt and service of Plaintiffs’

Amended Complaint. Plaintiffs’ Amended Complaint is the initial pleading setting

forth the claim for relief upon which Plaintiffs’ action is based. The thirty (30) day

period commenced on June 18, 2021, when Plaintiffs filed their Amended

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Complaint naming the correct party, Wal-Mart Stores East, L.P.

        17.    Venue is proper in this Court because the Twelfth Judicial Circuit

where Plaintiff filed her state court Complaint is located in Manatee County,

Florida, which is located within the United States District Court for the Middle

District of Florida, Tampa Division.

        III.   THERE IS COMPLETE DIVERSITY WITHIN THE PARTIES

        18.    The above described action is one in which this Court has original

jurisdiction under the provisions of 28 U.S.C. § 1332 and is one which may be

removed to this Court by WALMART, pursuant to 28 U.S.C. §§ 1441 and 1446, in

that:

        A.     This is an action between citizens of different states; and

        B.     This is a civil action in which the amount of the controversy

               exceeds the sum or value of $75,000.00, exclusive of interest

               and costs. See 28 U.S.C. § 1332(a).

        A.     Citizenship of Plaintiffs, Gloria Throneburg and Daniel C.
               Throneburg, Jr.

        19.    Plaintiffs’ Amended Complaint specifically alleges that Plaintiffs are

Florida residents domiciled in Manatee County, Florida. [See Ex. C, ¶ 2].

        20.    “It is well established that a party’s residence is prima facie evidence

of a party’s domicile,” and “[f]or purposes of diversity jurisdiction, a party’s


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domicile is equivalent to his citizenship.” Katz v. J.C. Penney Corp., 2009 WL

1532129, *3 (S.D. Fla. June 1, 2009).

      20.    However, WALMART also engaged a private investigator to conduct

a comprehensive background check in order to prove Plaintiffs’ intent to remain

Florida residents, so as to fully establish that this Court has jurisdiction over this

matter pursuant to diversity of citizenship. [See Ex. D].

        B.   Citizenship of WALMART

      22.    WALMART is not a citizen of the State of Florida for diversity

purposes in that it is not incorporated under the laws of the State of Florida and

because it does not have a principal place of business in Florida.

      23.    Wal-Mart Stores East, L.P., is a Delaware limited partnership, of

which WSE Management, LLC is the general partner, and WSE Investment, LLC

is the limited partner. These are the only partners of Wal-Mart Stores East, L.P.

WSE Management, LLC and WSE Investment, LLC were at the time of the filing

of the Complaint, and still are, Delaware Limited liability companies. The sole

member of WSE Management, LLC and WSE Investment, LLC is Wal-Mart

Stores East, LLC (f/k/a Wal-Mart Stores East, Inc.), an Arkansas limited liability

company whose parent company is Wal-Mart Stores, Inc. Wal-Mart Stores, Inc., is

and was at the time of filing the Complaint, an incorporated entity under the laws

of the State of Delaware. The principal place of business for all entities mentioned

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is Bentonville, Arkansas. At no time material has Wal-Mart Stores East, L.P., or

its general or limited partners, been a citizen of Florida. [See Florida Department

of State, Division of Corporations, Detail by Entity Name, attached hereto as

Exhibit “F”].

      24.    A corporation is deemed a citizen of the state in which it is

incorporated and in which its principal place of business is located. 28 U.S.C. §

1332(c). See Advanced Construction and Renovation, Inc. v. Mt. Hawley Ins. Co.,

2018 WL 797073 at *2 (S.D. Fla. Feb. 9, 2018) (“For purposes of diversity

jurisdiction, a corporation shall be deemed to be a citizen of every state by which it

has been incorporated and of the state where it has its principal place of

business.”). Accordingly, in the present action, complete diversity exists between

the parties pursuant to 28 U.S.C. § 1332.

                     IV.    AMOUNT IN CONTROVERSY

      25.    Furthermore, the statutory requirement that the amount in controversy

exceeds $75,000, exclusive of interest and costs, has been satisfied because

Plaintiffs seek damages that exceed the minimum jurisdictional threshold.

      26.    Here, Plaintiff’s Complaint alleges that she sustained serious and

permanent injuries and damages from the subject accident that exceed the Circuit

Court’s $30,000.00 jurisdictional minimum. [See Ex. C, ¶¶ 1, 9]. While the

Complaint does not specify an amount in controversy, it is clear from Plaintiff’s

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Demand Letter and medical bills that her claimed damages exceed this Court’s

jurisdictional minimum of $75,000.00.     [See Ex. C]. See Mick v. De Vilbiss Air

Power Co., 2010 WL 5140849, at *1 (M.D. Fla. Dec. 14, 2010) (finding that pre-

suit settlement demand letters are competent evidence of the amount in

controversy); Katz, 2009 WL 1532129, at *4 (S.D. Fla. June 1, 2009) (holding that

the defendant met its jurisdictional burden of establishing the amount in

controversy based on information received from plaintiffs’ pre-suit demand

package).

      27.    Where, as here, the Plaintiff makes “an unspecified demand for

damages in state court, a removing defendant must prove by a preponderance of

the evidence that the amount in controversy more likely than not exceeds the . . .

jurisdictional requirement.” Tapscott v. MS Dealer Service Corp., 77 F.3d 1353,

1357 (11th Cir. 1996) (emphasis added); see also, Williams v. Best Buy Co., 269 F.

3d 1316, 1319 (11th Cir. 2001).

      28.    “In the Eleventh Circuit, a district court may consider the complaint

and any later received paper from the plaintiff as well as the notice of removal and

accompanying documents when deciding upon a motion to remand.” Katz, 2009

WL 1532129, at *4 (S.D. Fla. June 1, 2009) (citing Lowery v. Alabama Power Co.,

483 F.3d 1184, 1213-1214 (11th Cir. 2007)). “Additionally, a district court may

consider evidence outside of the removal petition if the facts therein existed at the

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time of removal.” Id (citing Williams v. Best Buy Co., 269 F.3d 1316, 1320 (11th

Cir. 2001) and Sierminski v. Transouth Financial Corp., 216 F.3d 945, 949 (11th

Cir. 2000)). “Therefore, pre-suit settlement offers and demands may be considered

in evaluating whether a case has been properly removed.” Id.

      29.    Plaintiff’s itemized and specifically detailed Demand Letter

establishes that the amount in controversy exceeds the $75,000.00 jurisdictional

minimum. Specifically, Plaintiff’s Demand Letter and supporting medical records

and bills, indicate that Plaintiff has incurred over $34,900.00 in medical bills and

that amount is “still rising as she is still under the care and treatment of her

doctors.” The letter also indicates that her future conservative treatment expenses

will approach $59,400.00 over her lifetime.

[See Ex. D, Demand Letter, at p. 2, and attached Medical Bills].

      30.    Additionally, Plaintiff’s Complaint alleges damages for pain and

suffering, permanent impairment/disability, mental anguish, loss or diminution of

earnings or earning capacity, and the alleged need for future medical care. [See

Ex. C, ¶ 9]. Finally, Plaintiff, Daniel Throneburg alleges a claim for loss of

consortium. See Ex “C” at ¶ 11-13.

      31.    Plaintiff’s representations sufficiently and conclusively establish by a

preponderance of the evidence that the amount in controversy exceeds the requisite

$75,000.00 jurisdictional minimum for this Court to retain jurisdiction.

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      32.    District courts have consistently held that the amount in controversy is

satisfied by a showing that a plaintiff’s pre-suit demand letter demonstrates the

plaintiff’s past medical bills exceed $75,000.00. For instance, in Stramiello v.

Petsmart, Inc., 2010 WL 2136550, at *3 (M.D. Fla. 2010), the Middle District

determined that the defendant established the amount in controversy exceeded the

$75,000 jurisdictional minimum because the plaintiff’s medical bills exceeded

$108,000.00 and plaintiff alleged that her injuries were permanent and she would

seek recovery of future medical expenses and pain and suffering. Id. The court

found the defendant established complete diversity and that the amount in

controversy exceeded the jurisdictional threshold; therefore, the court denied the

plaintiff’s motion to remand. Id. at *5.

      33.    Similarly, in Katz v. J.C. Penney Corp., the district court concluded

that the removing defendant properly established the amount in controversy by

addressing information received from plaintiff’s pre-suit demand package. Katz,

2009 WL 1532129 at 4. The Court specifically noted it was persuaded that the

pre-suit demand package reflected an “honest assessment” of damages by plaintiff

because, like Plaintiff’s Demand Letter in this case, it was based on medical

records provided by the plaintiff. Id.

      34.    Additionally, in Wilson v. Target Corp., the plaintiff submitted a pre-

suit demand letter indicating she had incurred over $100,000.00 in past medical

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expenses and would incur an additional $1,000,000.00 in future medical expenses

as a result of her accident. Wilson v. Target Corp., 2010 WL 3632794, at *4 (S.D.

Fla. 2010). Although the plaintiff’s complaint did not specify the exact amount in

controversy, but only plead that her damages were in excess of $15,000, the court

denied plaintiff’s motion to remand finding that plaintiff’s pre-suit demand letter

and unspecified damages in her complaint were sufficient to demonstrate by a

preponderance of the evidence that the amount in controversy exceeded

$75,000.00. Id.

      35.      In the instant matter, Plaintiff’s Demand Letter, and supporting

medical records, which specify that Plaintiff’s past and future medical expenses

exceed $75,000.00, is an honest assessment of her claimed damages in the present

matter that is based on the following: (1) Plaintiff’s medical records and bills

attached to the Demand Letter; (2) Plaintiff’s alleged injuries, which include a

bulging discs at C3-4 and C4-5, herniated discs at C5-6 and C6-7 and straightened

alignment suggesting muscle spasm; and (3) Plaintiff’s alleged need for future

medical care, all of which exceed this Court’s $75,000 jurisdictional threshold.

[See Ex. C].

      36.      Therefore, the evidence demonstrates that Plaintiff’s claimed damages

in the present case far exceed $75,000. Accordingly, WALMART has shown by a

preponderance of the evidence that the amount in controversy exceeds the Court’s

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jurisdictional minimum, thus rendering removal proper.

                             V.     CONCLUSION

       This action is removable, pursuant to 28 U.S.C. §§ 1332, 1441 and 1446,

because there exists complete diversity in this matter as the Plaintiffs and

WALMART are citizens of different states and the amount in controversy exceeds

$75,000.00, exclusive of interest and costs. Accordingly, original jurisdiction of

this matter is vested in this Court and WALMART respectfully requests that this

action proceed in this Court as a matter properly removed.

      WHEREFORE, Defendant, WALMART respectfully requests that this

action currently pending in the Circuit Court for Manatee County, Florida be

removed to the United States District Court for the Middle District of Florida,

Tampa Division, and that this Court assume full jurisdiction over the cause herein

as provided by law.

      Respectfully submitted on this 16th day of July, 2021.

                               /s/ William H. Edwards, Esquire
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                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on July 16, 2021, I electronically filed the

foregoing with the Clerk of Court using the CM/ECF system. I further certify that

the foregoing document is being served this day on all counsel of record identified

on the attached Service List.

                                             /s/ William H. Edwards, Esq.
                                             William H. Edwards, Esq.




                                SERVICE LIST

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